                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

MEMPHIS CENTER FOR REPRODUCTIVE
HEALTH, et al.,

       Plaintiffs,                                         CIVIL ACTION

       v.                                                  CASE NO. 3.20-cv-00501

HERBERT H. SLATERY III, et al.,                            JUDGE CAMPBELL
                                                           MAGISTRATE JUDGE FRENSLEY
       Defendants.




                           MOTION FOR INDICATIVE RULING

       Pursuant to Federal Rule of Civil Procedure 62.1, Plaintiffs Memphis Center for

Reproductive Health d/b/a Choices, Planned Parenthood of Tennessee and North Mississippi,

Knoxville Center for Reproductive Health, Femhealth USA, Inc. d/b/a carafem; Dr. Kimberly

Looney, and Dr. Nikki Zite (together, “Plaintiffs”), on behalf of themselves and their patients,

physicians, and staff move this Court to issue an indicative ruling stating that, if this case is

remanded by the U.S. Court of Appeals for the Sixth Circuit, this Court will vacate the July 24,

2020 Preliminary Injunction Order, ECF No. 42 (“PI Order”), and dismiss this case without

prejudice under Rule 41(a)(2) as moot.

       Defendants’ appeal of the PI Order is currently pending before the en banc Sixth Circuit.

This case is now moot because of the Supreme Court’s decision in Dobbs v. Jackson Women’s

Health Organization (“Dobbs”), No. 19-1392, 2022 WL 2276808 (U.S. June 24, 2022), and the

resulting imminent implementation of Tennessee’s trigger ban, Tenn. Code Ann. § 39-15-213.

Defendants sought an emergency stay of the PI Order with respect to the Cascading Bans after




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Dobbs. Defs.’ Emergency Mot. for Stay, Memphis Ctr. for Reprod. Health v. Slatery, No. 20-5969

(6th Cir. June 24, 2022), ECF No. 130. The Sixth Circuit ordered Plaintiffs to respond by 9 AM

Eastern on June 27, 2022 (today). Ruling Letter, Memphis Ctr. for Reprod. Health v. Slatery, No.

20-5969 (6th Cir. June 24, 2022), ECF No. 131. Concurrent with this motion, Plaintiffs are

responding and asking the Sixth Circuit to dismiss the Defendants’ appeal as moot, to remand the

case back to the district court with instructions to dismiss, and to vacate the appealed order if the

Sixth Circuit determines that doing so is necessary under the circumstances.

        Pursuant to Local Rule 7.01(a)(1), Plaintiffs informed Defendants on June 24, 2022 of their

plan to move to voluntarily dismiss the case without prejudice and their willingness to seek vacatur

of the underlying PI Order, which is currently the subject of Defendants’ appeal before the en banc

Sixth Circuit. Defendants expressed opposition to both dismissal and vacatur. Plaintiffs again

followed up via email on June 26, 2022, to inquire about Defendants’ position on this motion.

Defendants oppose.

        An indicative ruling under Rule 62.1 is warranted here because Plaintiffs are voluntarily

electing to dismiss this action without prejudice pursuant to Rule 41(a)(2) and willing to vacate

the PI Order. See Fed. R. Civ. P. 62.1(a) (“If a timely motion is made for relief that the court lacks

authority to grant because of an appeal that has been docketed and is pending, the court may . . .

state . . . that it would grant the motion if the court of appeals remands for that purpose . . . .”). As

required by Rule 62.1(b), upon entry of the requested indicative ruling, Plaintiffs will notify the

Court of Appeals pursuant to Federal Rule of Appellate Procedure 12.1 and request a remand so

as to permit this Court to grant the relief requested.

        For the foregoing reasons, and as set forth in the accompanying Memorandum of Law,

Plaintiffs respectfully request that this Court issue an indicative ruling stating that, if the case is




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remanded by the Sixth Circuit, this Court will vacate its PI Order enjoining the Cascading Bans

and Reason Bans. A proposed Order is attached hereto.



Dated: June 27, 2022

                                               Respectfully submitted,

                                                /s/ Stella Yarbrough

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                                CERTIFICATE OF SERVICE
       I hereby certify that on June 27, 2022, I electronically filed the foregoing through the

Court’s CM/ECF system, which automatically sent copies to all counsel of record.

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                                                                     /s/ Stella Yarbrough

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